         18-12080-scc        Doc 14     Filed 08/22/18 Entered 08/22/18 17:20:02                  Notice of
                                        Possible Dividends Pg 1 of 1
                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF NEW YORK
                                               One Bowling Green
                                            New York, NY 10004−1408


IN RE: Rodney Fabor                                        CASE NO.: 18−12080−scc

Social Security/Taxpayer ID/Employer ID/Other Nos.:        CHAPTER: 7
xxx−xx−5607
                                                           TRUSTEE:

                                                           Deborah J. Piazza
                                                           Tarter Krinsky & Drogin LLP
                                                           1350 Broadway
                                                           11th Floor
                                                           New York, NY 10018

                                                           Telephone: (212) 216−8000




                       NOTICE OF POSSIBLE PAYMENT OF DIVIDENDS
                           AND OF LAST DATE TO FILE CLAIMS



        To the creditors of the above named debtor:

        As a result of the administration of the debtor's estate, a dividend to creditors now appears possible. You are
        hereby advised of the opportunity to file a claim in order to share in any distribution. A creditor must file a
        Proof of Claim whether or not the debt is included in the list of creditors filed by the debtor.

        The Proof of Claim must be filed on or before November 26, 2018.

        Please take further notice that if you have a Proof of Claim on file or one has been filed on your behalf, do
        not file again.

        A Proof of Claim form has not been included with this notice but one is available online at
        www.uscourts.gov and on the court's website, www.nysb.uscourts.gov. All Proofs of Claim must be filed
        electronically on the Court's website or mailed to the court at the above address.




Dated: August 22, 2018                                     Vito Genna
                                                           Clerk of the Court
